                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

NATIONAL AUDUBON SOCIETY et al.,           )
                                           )
           Plaintiffs,                     )   Case No. 3:20-cv-00205-SLG
                                           )
     v.                                    )
                                           )
DAVID BERNHARDT et al.,                    )
                                           )
           Defendants,                     )
                                           )
           and                             )
                                           )
ALASKA OIL & GAS ASSOCIATION et al.,       )
                                           )
          Intervenor-Defendants.           )
                                           )

                 DECLARATION OF RICHARD G. STEINER




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I, Richard G. Steiner, hereby declare as follows:

       1.     I live in Anchorage, Alaska, and have been a resident of Alaska since 1978.

I first lived in Kodiak, then Kotzebue (on the Chukchi Sea), then Cordova (Prince

William Sound), and since 1996 have lived in Anchorage.

       2.     I am a current member of the Center for Biological Diversity and have been

since 2011. I rely on the Center to help represent my interests in protecting the

environment through advocacy and the enforcement of our environmental laws.

       3.     I served as a professor on the University of Alaska faculty from 1980–

2010, with the School of Fisheries and Ocean Sciences. Subsequently, I have served as a

consultant through my organization Oasis Earth, primarily on oil and gas impact issues

globally, including Arctic drilling issues.

       4.     I have been professionally interested in the Arctic for decades. My first

posting with the University was as the first Marine Advisor for the Arctic, stationed in

Kotzebue on the Chukchi Sea coast, where I served from 1980–1982. I traveled

extensively across Arctic Alaska during that time, conducting marine resource

evaluations and delivering educational workshops in coastal Alaska Native villages, with

topics including oil and gas development and its potential impacts.

       5.     I produced and hosted two statewide public television shows that discussed

drilling in the Arctic National Wildlife Refuge (ANWR), both part of the Alaska

Resource Issues Forum televised debate series. The first was entitled “The Arctic


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National Wildlife Refuge,” which aired in 1987. The second was entitled “The Future of

Oil in America’s Arctic,” which aired in 1999.

          6.    I have authored many publications pertaining to the Arctic, with a particular

focus on the detrimental effects of oil development, shipping, and climate change. I have

also taught classes and workshops on the natural resources, fisheries, and marine

mammals of Alaska, as well as climate change and endangered species, among other

topics.

          7.    I served as the University of Alaska’s marine advisor for the Prince

William Sound (PWS) region on the south coast of Alaska from 1983 to 1996. I was

directly involved in most aspects of the Exxon Valdez Oil Spill (EVOS) in 1989,

including serving on the emergency response command team in Valdez, helping to

develop the Oil Pollution Act of 1990, proposing a settlement of all government claims

against Exxon, and helping to found the PWS Regional Citizens Advisory Council and

PWS Science Center.

          8.    I have consulted for governments, the United Nations, industry, and non-

governmental organizations on oil and oil spill issues globally, including in Nigeria,

Mauritania, the Canary Islands, the Middle East, Russia, China, Pakistan, the Caspian Sea

(Azerbaijan and Kazakhstan), the Baltic Sea, Finland, New Zealand, Canada, the United

Kingdom, Norway, Australia, Solomon Islands, and across the United States. I have

worked on oil pipeline integrity and oil spill issues, and I served as an expert witness in


National Audubon Society v. Bernhardt,                                                        2
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oil spill cases in the Niger Delta, Nigeria. In 1999, I joined two other international

colleagues to conduct the first independent review of the Sakhalin Island/Sea of Okhotsk,

Russia oil spill risk and mitigation plans. In 2003, I served in Irkutsk, Siberia, and Ulan

Ude, Buryatia, as an international expert with the Public Expertisa Review of the

environmental assessment for the proposed Russia-China oil pipeline across Siberia. I

have conducted many workshops on the risks of oil development across the Russian Far

East and Siberia (and elsewhere).

       9.     I served on the 2004/2005 Independent Scientific Review Panel constituted

by the International Union for the Conservation of Nature (IUCN), sponsored by Shell, to

provide advice on reducing risks and impacts of the Sakhalin II offshore oil drilling

project in the Sea of Okhotsk, Russia. At the time, I visited the offshore drilling rig

Molikpaq in the Sea of Okhotsk northeast of Sakhalin Island, as well as other onshore

infrastructure. I advised media and NGOs in the 2010 Deepwater Horizon oil spill in the

U.S. Gulf of Mexico. I served as an expert witness for an offshore drilling case in New

Zealand, conducted a technical review of risks of deepwater drilling in the Great

Australian Bight, and advised the government of Solomon Islands and the United Nations

on the 2019 Solomon Trader oil spill at Rennell Island. In my current role with Oasis

Earth, I have reviewed environmental statements for Arctic drilling off Greenland,

Norway, Canada, and Alaska; the oil spill contingency plan of the Arctic Council; and

published reviews. In 2007, I first proposed establishment of an Arctic Regional Citizens’


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Advisory Council to give local Arctic stakeholders a more direct oversight role in any

and all Arctic oil and gas development, shipping, and other offshore industrial activities.

In 2012, I was an invited expert witness to the U.K. Parliament’s House of Commons

Environmental Audit Committee on “Protecting the Arctic.”

       10.    All these experiences—especially those relating to EVOS and Deepwater

Horizon—have informed my stance on oil development in the Arctic. In PWS, at 60° N.

latitude, EVOS oil remains in beach substrates today—30 years after the spill—and it is

still relatively toxic and un-weathered. Many of the injured fish and wildlife populations

and habitats in the spill region have yet to fully recover, and some are still listed by the

government Trustee Council as “Not Recovering.” The genetically unique AT1 killer

whale population is expected to become extinct due to the loss of reproductive females in

the oil spill, and pigeon guillemots, Pacific herring, and marbled murrelets remain listed

as “Not Recovering.”

       11.    In addition to my work on risk reduction standards, I also published opinion

pieces about the future of the Arctic in the Los Angeles Times and Huffington Post. I

regularly speak out against Arctic drilling, spill risks, and climate change impacts to

media outlets. I produced a public presentation called the Imperiled Arctic, which

highlights the beauty of the Arctic, its ecological values, and the risks of drilling there. I

presented Imperiled Arctic as a keynote address at the Georgetown University Earth Day




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event in Washington, D.C., and other venues in Alaska in 2015, and for Earth Day in

Seldovia and Homer, Alaska, in 2019.

       12.    I also organized Arctic offshore sea ice minimum over-flights in 2008 and

2009 with the U.S. Coast Guard (using a C-130 based in Kodiak). We flew scientists and

media observers over several hundred miles to observe ice conditions during the sea ice

minimum (September), as well as the behavior and distribution of marine mammals at

these times. We flew over portions of ANWR during those surveys and were able to see

numerous marine mammals along the coast there and in the Beaufort Sea, including polar

bears, Pacific walruses, and ringed seals.

       13.    In addition to my professional interests, I have deep personal interests in

the Arctic in general and in ANWR in particular, which stem from considerable

backcountry experiences I have enjoyed over the years. For example, I floated the upper

part of the Noatak River in Gates of the Arctic National Park; floated most of the Utukok

River on the western Arctic Slope to Kasegaluk Lagoon and Point Lay on the Arctic

coast; floated the length of the Mackenzie River in Arctic Canada, across the Rat River

pass, then down the Bell, Porcupine, and Yukon rivers all the way to the Bering Sea, over

2,000 miles; and hiked in the northwestern Brooks Range to observe the western Arctic

caribou herd migration and grizzly bears.

       14.    I hiked across the entire length of ANWR in the early 1980s, south to north,

walking from Arctic Village up the Chandalar River, across the Brooks Range, down the


National Audubon Society v. Bernhardt,                                                      5
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Hulahula River, and to Barter Island on the Arctic coast. The trip took more than three

weeks and I got to know the country quite well. My brother was with me for the hike,

and aside from each other, we saw no other humans—but lots of wildlife. We saw Dall

sheep in the mountains, an occasional grizzly bear, caribou (small groups or individuals,

not the main part of the herd, which had already traveled south after calving), and

muskox herds towards the coast. The entire area was incredibly wild and pristine,

offering a unique experience and memories that I cherish. This experience deepened my

connection with the Arctic, and enhanced my resolve to help protect the region from

industrial development.

       15.    I also went to ANWR about 10 years ago to observe polar bears with my

stepson. We stayed in Kaktovik—a small village on Barter Island—where Iñupiat people

conduct subsistence hunts of bowhead whales and later take the remains of the carcasses

out to a dry spit on the coast after the meat has been carved up and distributed to the

villagers. Polar bears congregate on another island that is about a quarter mile away and

then swim over, finding the whale carcasses irresistible. My stepson and I were able to go

out and view polar bears several times a day, watching up to 50 bears at a time. Seeing a

polar bear in the wild is like nothing else. They are some of the most remarkable animals

on earth—without question—highly adapted to the Arctic world. It gives me a profound

feeling to see there are still wild polar bears making a living on the sea ice—like




National Audubon Society v. Bernhardt,                                                      6
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everything is right in the world. My stepson seemed just as enthralled by the bears as I

was, and it was incredible to share that experience with him.

       16.    These trips to the Arctic have given me a deep personal appreciation for

and connection to the region. From my view, ANWR is one of the last, best places on

earth today—a vast wilderness that is relatively unmarred by industrial activities, and

unlike much of the public land in Alaska, is not overrun by other people. There are

precious few areas like ANWR remaining today, making it a rare and unique place to

experience solitude and wild nature—where except for climate change and persistent

organic pollutants—the natural world largely continues as it has for millennia. It is a

place I think many people want and need to experience, or at least know still exists. It

certainly is important to me. I not only enjoy being there, but I also find a sense of inner

peace by being in a pristine wilderness like ANWR and seeing bears, caribou, and other

wildlife that are so integral to the region. It gives me a deeper understanding of myself

and my place in the world.

       17.    Oil and gas development would degrade and destroy these experiences. I

think back to the trip I did with my brother to ANWR in the 1980s. Oil and gas

exploration was a threat even then, and as I hiked across the coastal plain, I vividly

remember fearing what would happen if drilling—or even exploration—began. It would

be a completely different experience to go there, no longer a pristine environment or

somewhere I would find solitude, and with fewer chances of viewing wildlife like polar


National Audubon Society v. Bernhardt,                                                         7
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bears and caribou. This is true not just for oil and gas drilling itself, but for all stages of

development. Lights, heavy equipment, road construction, air traffic, industrial noise,

and seismic profiling would all severely degrade my recreational and moral interests in

ANWR. Even if these activities were not occurring while I was there, my interests in the

ecosystem and wildlife would be degraded just knowing the area was violated in such a

way.

       18.    I plan to visit ANWR again next year to observe the post-calving

aggregation of the porcupine caribou herd. The herds change their migration patterns

every year, so my exact destination will depend on where the caribou go, but I will

generally be going to the coastal plain southeast of Kaktovik. I did a similar trip to

observe the western Arctic caribou herd two years ago, and I am looking forward to

viewing the porcupine herd in ANWR soon as well. Viewing Arctic caribou herds is a

breathtaking and thrilling experience for me, a chance to view a keystone species of the

Arctic. It will be remarkable, from both a scientific and personal perspective, to be near

the herd in the post-calving season in ANWR, as they move with their calves to the

southeast in their migration. I am still working on the details for the trip, but I plan to go

in late spring 2021.

       19.    I am deeply concerned that oil and gas exploration in ANWR would

displace caribou from this important calving area. There is evidence that the Prudhoe

Bay caribou herd abandoned some of their former calving grounds in what are oil fields


National Audubon Society v. Bernhardt,                                                            8
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today. Seismic profiling, industrial noise, heavy equipment, and air traffic from oil and

gas development will drive caribou away and affect where they go. If they are displaced

from their prime coastal plain habitat in ANWR, they would be forced into suboptimal

areas for calving and foraging, bringing problems from increased predation and poor

nutrition. They can also be forced into areas with less wind, which means more

mosquitoes. The harassment can become so intense that caribou flee to snowbanks that

mosquitoes avoid, but this means less time foraging and less weight gained for the winter

season. I would suffer a personal loss if I do not have the opportunity or have fewer

opportunities to see porcupine caribou herds. I simply love being around them and

learning more about their life history by not just reading about them in books, but from

personal observation. To me, there is nothing quite like being near a large congregation

of these beautiful animals. It is an absolute spectacle—an extraordinary natural

phenomenon—to view and experience. Being in a large aggregation of wild animals like

caribou helps center us all back in the real world, absent human artifices. It is a deeply

spiritual experience for me and many people I know. In a very real sense, this is my

church.

       20.    I have many other concerns about oil and gas exploration in the refuge. For

example, seismic surveys and resulting seismic lines would leave indelible marks in the

tundra that would last for decades, if not centuries—destroying the wild nature and

beauty of the area. I am also concerned with its impacts on polar bears: as the extent of


National Audubon Society v. Bernhardt,                                                       9
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sea ice continues to decline, polar bears are being forced to spend more and more of their

time on onshore areas—and the risk from oil and gas exploration goes up as they are

exposed to this industrial activity. I worry that seismic profiling and associated activities

may affect essential polar bear habitat particularly because (1) the Beaufort Sea

population of polar bears utilize the coastal plain both for feeding and supportive habitat

during the ice-free season and for denning during the winter months, and (2) this

population is at significant risk of extinction. These concerns are compounded by the

effects that oil and gas exploration would have on climate change, accelerating the loss of

sea ice and otherwise exacerbating the effects we are seeing now. Polar bears

demonstrate one of the most visible manifestations of problems from climate change, but

they are far from the only species affected. Ringed seals, belugas, narwhals, bowheads,

marine fish, and plankton—they all fit together to create a food web and ecosystem in

balance. I would experience an immense personal loss if it was damaged, not only

ruining my backcountry experiences and chances to observe wildlife onshore and

offshore, but also going against my fundamental moral and ethical beliefs. For example,

I see polar bears as emblems of Arctic wilderness—iconic mammals that spark curiosity

and interest in the region for people young and old alike, and for people who may never

actually come here to see them. And they also play a vital role in the ecosystem. I

believe they have an inherent right to exist, and that it is our moral obligation to protect

them from harm, especially since humans have caused their decline.


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       21.     The risk of oil spills is also a major concern to me. I can attest with

certainty that the risk of a major spill is real, and there would be little possibility of

effective containment or environmental restoration from such an event in ANWR. Like

an offshore spill, I believe a land-based oil spill in the Arctic would have long-lasting—

and possibly permanent—impacts, particularly in a sensitive, high-latitude environment

like the coastal plain of ANWR. Though onshore oil spills may be easier to contain as

compared to offshore spills, oil would quickly permeate down and reach the permafrost if

a spill occurred, where it would be exceedingly difficult or impossible to clean up or

“recover.” Any possibilities for environmental restoration on the coastal plain would be

as limited as with the marine system, with impacts persisting for decades, if not forever,

if a major spill occurred. I personally witnessed the consequences of corporate and

governmental negligence and the resulting loss of a coastal ecosystem—at PWS due to

the EVOS. I believe we cannot make the same mistake in ANWR—the risk and the

natural values at stake are simply too great.

       22.     Opening ANWR to oil and gas drilling would clearly diminish the

wilderness values it has today. If even just oil and gas exploration began, I doubt I would

ever go there again to for recreational purposes. Indeed, if seismic profiling or any other

oil development activities occur this winter, it may impact and alter my plans to visit

ANWR next spring/summer to view the porcupine caribou herd. I may go in a

professional scientific capacity to assess any damage in the future if oil development


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begins, but ANWR would no longer have the pristine qualities that I now seek and enjoy

for recreation.

       23.    However, my greater concern is not the negative impacts to me personally

or professionally, but with the ecosystem as a whole and the wildlife that depend on it. I

think preserving ANWR’s wild places and wildlife, both onshore and offshore, is a global

conservation priority. I believe it is still possible for the greater Arctic Ocean ecosystem

to recover from climate change if we urgently reduce global carbon emissions and the

human ecological footprint in the Arctic—perhaps not within our lifetimes, but hopefully

by the end of the century. I view it as a moral and ethical duty to try.

       24.    For all these reasons, the decision to approve oil and gas exploration in

ANWR harms me. It threatens harm to wildlife such as polar bears and caribou, along

with my interests in these important and iconic animals. It would also compromise my

professional efforts to protect the Arctic from the type of devastating oil spill we saw

with the Exxon Valdez and Deepwater Horizon, as well as my efforts to address climate

change and additional unsustainable fossil fuel development.

       25.    In my time living along and later visiting the Arctic Ocean, I came to

appreciate the special wildness and remoteness of the region, its productive ecosystems,

and fragility. I have spent many days observing Arctic marine wildlife and vast

landscapes and seascapes from the ground, air, and boats, and I appreciate each and every

encounter I have had, and will continue to have, with Arctic wildlife.


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I declare under penalty of perjury that the foregoing declaration is true and correct.



Dated: December 10, 2020                          By:
                                                                Richard G. Steiner




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